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4

5
     Attorney for Defendant
     NAVPREET SINGH
6
                            IN THE UNITED STATES DISTRICT COURT
7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,                     )       No. CR-S-10-347 MCE
10
                                                   )
                                                   )
            Plaintiff,                             )       STIPULATION AND ORDER
11
                                                   )       CONTINUING STATUS CONFERNCE
     v.                                            )
12
                                                   )
     DISHAN PERERA et al.,                         )       Date: January 5, 2012
13
                                                   )       Time: 9:00 a.m.
14
                                                   )       Judge: Hon. Morrison C. England, Jr.
            Defendants.                            )
                                                   )
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                                                   )
                                                   )
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                    IT IS HEREBY stipulated between the United States of America through its
19
     undersigned counsel, Todd D. Leras, Assistant United States Attorney, together with counsel for
20
     defendant Dishan Perera, Alan Baum, Esq., counsel for defendant Jeremy Gachago, Michael L.
21
     Chastaine, Esq., counsel for defendant Ramiro Garcia, Christopher R. Cosca, Esq., counsel for
22
     defendant Love Deep Singh Sidhu, Christopher Haydn-Myer, Esq., counsel for defendant
23
     Leonard Woodfork, Olaf W. Hedberg, Esq., counsel for defendant Jason Cavileer, Dan F.
24
     Koukol, Esq., counsel for defendant Michael Tran, Michael D. Long, Esq., counsel for defendant
25

26
     Navpreet Singh, John R. Manning, Esq., counsel for defendant Imesh Perera, Mark Waecker,

27   Esq., counsel for defendant Navjot Singh, Mark J. Reichel, Esq., and counsel for defendant

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1    Torey Moore, Shari Rusk, Esq., that the status conference presently set for November 3, 2011 be
2    continued to January 5, 2012, at 9:00 a.m., thus vacating the presently set status conference.
3           Further, all of the parties, the United States of America and all of the defendants as stated
4    above, hereby agree and stipulate that the interests of justice served by granting this continuance
5    outweigh the best interests of the defendants and the public in a speedy trial and that time under
6    the Speedy Trial Act should be excluded under Title 18, United States Code Section
7    3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local Codes T-2 (unusual or complex case)
8    and T-4 (to allow defense counsel time to prepare) from the date of the parties’ stipulation,
9    October 31, 2011, to and including January 5, 2012. This is based on the complexity of the case;
10   including voluminous discovery and the fact there are eleven co-defendants. The defense
11   requests more time to review discovery, conduct investigation and engage in negotiations with
12   the government.
13   IT IS SO STIPULATED
14   Dated: October 31, 2011                              /s/ Alan Baum
15                                                        ALAN BAUM
                                                          Attorney for Defendant
16                                                        Dishan Perera
17   Dated: October 31, 2011                              /s/ Michael L. Chastaine
                                                          MICHAEL L. CHASTAINE
18
                                                          Attorney for Defendant
19                                                        Jeremy Gachago

20
     Dated: October 31, 2011                              /s/ Christopher R. Cosca
                                                          CHRISTOPHER R. COSCA
21                                                        Attorney for Defendant
                                                          Ramiro Garcia
22
     Dated: October 31, 2011                              /s/ Christopher Haydn-Myer
23
                                                          CHRISTOPHER HAYDN-MYER
24                                                        Attorney for Defendant
                                                          Love Deep Singh Sidhu
25
     Dated: October 31, 2011                              /s/ Olaf W. Hedberg
26                                                        OLAF W. HEDBERG
                                                          Attorney for Defendant
27
                                                          Leonard Woodfork
28




                                                      2
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1    Dated: October 31, 2011                   /s/ Dan F. Koukol
                                               DAN F. KOUKOL
2
                                               Attorney for Defendant
3                                              Jason Cavileer

4    Dated: October 31, 2011                   /s/ Michael D. Long
                                               MICHAEL D. LONG
5                                              Attorney for Defendant
                                               Michael Tran
6

7    Dated: October 31, 2011                   /s/ John R. Manning
                                               JOHN R. MANNING
8                                              Attorney for Defendant
9
                                               Navpreet Singh

10   Dated: October 31, 2011                   /s/ Mark Waecker
                                               MARK WAECKER
11                                             Attorney for Defendant
12
                                               Imesh Perera

13   Dated: October 31, 2011                   /s/ Shari Rusk
                                               SHARI RUSK
14
                                               Attorney for Defendant
15                                             Torey Moore

16   Dated: October 31, 2011                   /s/ Mark J. Reichel
                                               MARK J. REICHEL
17
                                               Attorney for Defendant
18                                             Navjot Singh

19

20
     Dated: October 31, 2011                   Benjamin B. Wagner
21                                             United States Attorney

22
                                               by: /s/ Todd D. Leras
23
                                               TODD D. LERAS
24                                             Assistant United States Attorney

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                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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9
     UNITED STATES OF AMERICA,                      ) No. CR-S-10-347 MCE
10
                                                    )
                                                    )
            Plaintiff,                              ) ORDER TO
11
                                                    ) CONTINUE STATUS CONFERNCE
     v.                                             )
12
                                                    )
     DISHAN PERERA et al.,                          )
13
                                                    )
14
                                                    )
            Defendants.                             )
                                                    )
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                                                    )
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            GOOD CAUSE APPEARING, it is hereby ordered that the November 3, 2011 status
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     conference be continued to January 5, 2012 at 9:00 a.m. I find that the ends of justice warrant an
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     exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for
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     effective preparation exceeds the public interest in a trial within 70 days. THEREFOR IT IS
22
     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv) and
23
     Local Code T4 from the date of this order to January 5, 2012.
24
            IT IS SO ORDERED.
25   Dated: November 2, 2011

26                                            __________________________________
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                                              MORRISON C. ENGLAND, JR
                                              UNITED STATES DISTRICT JUDGE
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